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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 0:19cv61007

 RYAN TURIZO,
 individually and on behalf of all
 others similarly situated,                                    CLASS ACTION

        Plaintiff,                                             JURY TRIAL DEMANDED

 v.

 CERTIFIED ASSOCIATES, LLC. d/b/a
 CERTIFIED MARIJUANA
 DOCTORS.COM

        Defendant.
                                               /

                                 CLASS ACTION COMPLAINT

        Plaintiff, RYAN TURIZO, brings this class action against Defendant, CERTIFIED

 ASSOCIATES, LLC (“CAS” or “Defendant”), and alleges as follows upon personal knowledge

 as to himself and his own acts and experiences, and, as to all other matters, upon information and

 belief, including investigation conducted by his attorneys.

                                     NATURE OF THE ACTION

        1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

 § 227, et seq. (“TCPA”).

        2.      Defendant is in the business of providing consumers with assistance in obtaining

 medical marijuana permits.

        3.      In efforts to extract a new stream of revenue into its business, Defendant would often

 send marketing text messages providing various types of promotional offers and savings for future

 purchases of Defendant’s products and services, which are illegal Schedule I controlled substances


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 under federal law, to consumers without first obtaining express written consent to send such marketing

 text messages as required to do so under the TCPA.

         4.      These messages were sent using mass-automated technology through a third-party

 company hired by Defendant to send marketing text messages on Defendant’s behalf en masse.

         5.      In sum, Defendant knowingly and willfully violated the TCPA, causing injuries to

 Plaintiff and members of the putative class, including invasion of their privacy, aggravation, annoyance,

 intrusion on seclusion, trespass, and conversion.

         6.      Through this putative class action, Plaintiff seeks injunctive relief to halt Defendant’s

 illegal conduct. Plaintiff also seeks statutory damages on behalf of himself and members of the class,

 and any other available legal or equitable remedies resulting from the illegal actions of Defendant.

                                    JURISDICTION AND VENUE

         7.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

 statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national

 class, which will result in at least one Class member belonging to a different state than Defendant.

 Plaintiff seeks up to $1,500.00 in damages for each call (text message) in violation of the TCPA, which,

 when aggregated among a proposed class numbering in the thousands, or more, exceeds the

 $5,000,000.00 threshold for federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

         8.      Venue is proper in the United States District Court for the Southern District of Florida

 pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendant is deemed to reside in any judicial district in

 which they are subject to the court’s personal jurisdiction, and because Defendant provide and market

 their services within this district thereby establishing sufficient contacts to subject them to personal

 jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within this district and, on

 information and belief, Defendant has sent the same text message complained of by Plaintiff to other

 individuals within this judicial district, subjecting Defendant to jurisdiction here.
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                                               PARTIES

         9.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

 Broward County, Florida.

         10.     Defendant is a Florida corporation with a principal office located at 2096 North

 university Drive, Sunrise, Florida, 33322. Defendant conducts, directs, markets, and controls its

 business operations all within the United States.

                                              THE TCPA

         11.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

 an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

 227(b)(1)(A).

         12.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

 that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

 sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

         13.     The TCPA exists to prevent communications like the ones described within this

 Complaint. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

         14.     In an action under the TCPA, a plaintiff must show only that the defendant “called a

 number assigned to a cellular telephone service using an automatic dialing system or prerecorded

 voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

 F.3d 1265 (11th Cir. 2014).

         15.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

 regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

 are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

 nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and


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 inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

 they pay in advance or after the minutes are used.

         16.     In 2012, the FCC issued an order further restricting automated telemarketing calls,

 requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

 & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.

 15, 2012)(emphasis supplied).


         17.     To obtain express written consent for telemarketing calls, a defendant must establish

 that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

 disclosure’ of the consequences of providing the requested consent . . . and [the plaintiff] having received

 this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

 designates.” In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

 27 F.C.C.R. 1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

         18.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

 initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

 investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

 communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

 communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

         19.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

 good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’” Id.

 (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

         20.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

 transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)).

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           21.    The FCC has explained that calls motivated in part by the intent to sell property, goods,

 or services are considered telemarketing under the TCPA. See In the Matter of Rules & Regulations

 Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003). This is

 true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or services

 during the call or in the future. Id.

           22.    In other words, offers “that are part of an overall marketing campaign to sell

 property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

 Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

 (2003).

           23.    If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

 obtained the plaintiff’s prior express consent. In the Matter of Rules & Regulations Implementing the

 Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent “for

 non-telemarketing and non-advertising calls”).

           24.    Further, the FCC has issued rulings and clarified that consumers are entitled to the same

 consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

 Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC has determined that a text

 message falls within the meaning of ‘to make any call’ in 47 U.S.C. § 227(b)(1)(A)”).

           25.    As recently held by the United States Court of Appeals for the Ninth Circuit:

 “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

 the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

 additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.

 14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

 Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).


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  Vicarious Liability

       26.     Under the TCPA, as interpreted by the FCC, a person or entity can be liable for calls

made on its behalf even if that person or entity did not directly dial those calls.

       27.     The FCC has explained that its “rules generally establish that the party on whose behalf

a solicitation is made bears ultimate responsibility for any violations.” See In the Matter of Rules &

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 F.C.C Rcd. 12391, 12397 (1995).

       28.     In 2008, the FCC reiterated that “a company on whose behalf a telephone solicitation

is made bears the responsibility for any violations.” See In the Matter of Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 23 F.C.C. Rcd. 559, 565 (2008) (specifically

recognizing “on behalf of” liability in the context of a robocall sent to a consumer by a third party on

another entity’s behalf under 47 U.S.C. 227(b)).

       29.     In May of 2013, the FCC reinforced this issue. See In the Matter of the Joint Petition

Filed by Dish Network, LLC, 28 F.C.C. Rcd. 6574 (2013) (hereinafter “2013 FCC Ruling Order”)

(clarifying that “a seller … may be vicariously liable under federal common law agency-related

principles for violations of either section 227(b) or 227(c) committed by telemarketers that initiate

calls to market its products or services.”). The FCC rejected a narrow view of TCPA liability,

including the assertion that a seller’s liability requires a finding of formal agency and immediate

direction and control over the third-party who placed the telemarketing call. Id. n.107.

       30.     The 2013 FCC Order further explained:

        “To provide guidance in this area, we find that the following are illustrative examples
  of evidence that may demonstrate that the telemarketer is the seller’s authorized
  representative with apparent authority to make the seller vicariously liable for the
  telemarketer’s section 227(b) violations. For example, apparent authority may be supported
  by evidence that the seller allows the outside sales entity access to information and systems
  that normally would be within the seller’s exclusive control, including: access to detailed
  information regarding the nature and pricing of the seller’s products and services or to the
  seller’s customer information. The ability by the outside sales entity to enter consumer
  information into the seller’s sales or customer systems, as well as the authority to use the
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  seller’s trade name, trademark and service mark may also be relevant. It may also be
  persuasive that the seller approved, wrote or reviewed the outside entity’s telemarketing
  scripts. Finally, a seller would be responsible under the TCPA for the unauthorized conduct
  of a third-party telemarketer that is otherwise authorized to market on the seller’s behalf if
  the seller knew (or reasonably should have known) that the telemarketer was violating the
  TCPA on the seller’s behalf and the seller failed to take effective steps within its power to
  force the telemarketer to cease that conduct. At a minimum, evidence of these kinds of
  relationships – which consumers may acquire through discovery, if they are not
  independently privy to such information – should be sufficient to place upon the seller the
  burden of demonstrating that a reasonable consumer would not sensibly assume that the
  telemarketer was acting as the seller’s authorized agent.

        “[ ] In sum, under our current rules and administrative precedent interpreting and
  implementing sections 227(b) and 227(c), we do not think that an action taken for the benefit
  of a seller by a third-party retailer, without more, is sufficient to trigger the liability of a
  seller under section either section 227(c) or section 227(b). However, we see no reason
  that a seller should not be liable under those provisions for calls made by a third-party
  telemarketer when it has authorized that telemarketer to market its goods or services.
  In that circumstance, the seller has the ability, through its authorization, to oversee the
  conduct of its telemarketers, even if that power to supervise is unexercised. In the case of
  either actions to enforce section 227(b) or actions to enforce do-not-call restrictions under
  section 227(c), we stress that nothing in this order requires a consumer to provide proof – at
  the time it files its complaint – that the seller should be held vicariously liable for the
  offending call. (emphasis added)

Id. at ¶¶ 46-47).

        31.     Accordingly, it is undeniably clear, that an entity can be liable under the TCPA for a

call made on its behalf even if the entity did not directly place the call under a number of theories,

including vicarious liability. Under those circumstances, the entity is properly deemed to have

initiated the call through the person or entity that actually placed the calls.

                                       BACKGROUND FACTS

          32.       Defendant is in the business of providing consumers with assistance in obtaining

  medical marijuana permits. In effort to attempt to inflate revenues, Defendant embarked on an illegal

  marketing campaign by sending marketing text messages to hundreds, if not thousands, of consumers

  at a time and provided various types of offers promotions pertaining to their sale of illegal controlled

  substances under federal law. Upon information and belief, Defendant has sent at least 1,000 thousand

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 illegal text messages over the last four years preceding this lawsuit

         33.     For instance, on April 16, 2019 Plaintiff received the following text message

 depicted below:




         34.     Defendant’s text messages constitute telemarketing because they encourage the future

 purchase of Defendant’s products and/or services by consumers.

         35.     Plaintiff received the subject text messages within this judicial district and, therefore,

 Defendant violation of the TCPA occurred within this district. Upon information and belief, Defendant

 caused other text messages to be sent to individuals residing within this judicial district.
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         36.     At no point in time did Plaintiff provide Defendant with his express written consent to

 be contacted by text for marketing purposes.

         37.     The impersonal and generic nature of Defendant’s text messages along with the fact that

 the phone number used to text Plaintiff is a “dead” number demonstrates that Defendant utilized an

 ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14- cv-2791-WSD, 2016

 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions, combined with the

 generic, impersonal nature of the text message advertisements and the use of a short code, support an

 inference that the text messages were sent using an ATDS.”) (citing Legg v. Voice Media Grp., Inc., 20

 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer text messages were

 sent using ATDS; use of a short code and volume of mass messaging alleged would be impractical

 without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D. Cal. 2010)

 (finding it “plausible” that defendants used an ATDS where messages were advertisements written in

 an impersonal manner and sent from short code); Robbins v. Coca-Cola Co., No. 13-CV-132- IEG NLS,

 2013 U.S. Dist. LEXIS 72725, 2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass

 messaging would be impracticable without use of an ATDS)).

         38.     Specifically, upon information and belief, Defendant, through their direction, utilized a

 combination of hardware and software systems to send the text messages at issue in this case. The

 systems utilized by Defendant have the current capacity or present ability to generate or store random or

 sequential numbers or to dial sequentially or randomly at the time the call is made, and to dial such

 numbers, en masse, in an automated fashion without human intervention.

         39.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including invasion

 of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

 text messages also inconvenienced Plaintiff and caused disruption to his daily life. See Patriotic

 Veterans, Inc. v. Zoeller, No. 16-2059, 2017 WL 25482, at *2 (7th Cir. Jan. 3, 2017) (“Every call uses
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  some of the phone owner’s time and mental energy, both of which are precious.”).

                                           CLASS ALLEGATIONS


                PROPOSED CLASS

          40.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

  himself and all others similarly situated.

          41.     Plaintiff brings this case on behalf of a Class defined as follows:

                  All persons within the United States who, within the four years
                  prior to the filing of this Complaint, received a marketing or
                  promotional text message made through the use of any
                  automatic telephone dialing system, from Defendant or anyone
                  on Defendant’s behalf, to said person’s cellular telephone
                  number, not for emergency purpose and without the recipient’s
                  prior express written consent.

          42.     Defendant and their employees or agents, Plaintiff’s attorneys and their employees, the

  Judge to whom this action is assigned and any member of the Judge’s staff and immediate family, and

  claims for personal injury, wrongful death, and/or emotional distress are excluded from the Class.

  Plaintiff does not know the number of members in the Class, but believes the Class members number

  in the several thousands, if not more.

             NUMEROSITY

          43.     Upon information and belief, Defendant has placed automated calls to cellular telephone

  numbers belonging to thousands of consumers throughout the United States without their prior express

  consent. The members of the Class, therefore, are believed to be so numerous that joinder of all members

  is impracticable.

          44.     The exact number and identities of the Class members are unknown at this time and can

  be ascertained only through discovery. Identification of the Class members is a matter capable of

  ministerial determination from Defendant’s callrecords.
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                COMMON QUESTIONS OF LAW AND FACT

          45.     There are numerous questions of law and fact common to the Class which predominate

  over any questions affecting only individual members of the Class. Among the questions of law and

  fact common to the Class are:

                       (1) Whether Defendant made non-emergency calls to Plaintiff’s and Class

                          members’ cellular telephones using an ATDS;

                       (2) Whether Defendant can meet their burden of showing that they obtained prior

                          express consent to make such calls;

                       (3) Whether Defendant conduct was knowing and willful;

                       (4) Whether Defendant are liable for damages, and the amount of such damages;

                          and

                       (5) Whether Defendant should be enjoined from such conduct in the future.

          46.     The common questions in this case are capable of having common answers. If Plaintiff’s

  claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

  telephone services is accurate, Plaintiffs and the Class members will have identical claims capable of

  being efficiently adjudicated and administered in this case.

                TYPICALITY

          47.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

  on the same factual and legal theories.

                PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          48.     Plaintiff is a representative who will fully and adequately assert and protect the interests

  of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

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  and will fairly and adequately protect the interests of the Class.



                SUPERIORITY

          49.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

  lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

  and, even if every member of the Class could afford individual litigation, the court system would be

  unduly burdened by individual litigation of such cases.

          50.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

  one court might enjoin Defendant from performing the challenged acts, whereas another may not.

  Additionally, individual actions may be dispositive of the interests of the Class, although certain class

  members are not parties to such actions.

                                                COUNT I
                               Violation of the TCPA, 47 U.S.C. § 227(b)
                                 (On Behalf of Plaintiff and the Class)

          51.     Plaintiff re-alleges and incorporates paragraphs 1-50 as if fully set forth herein.

          52.     It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system . . . to any telephone number assigned to a … cellular telephone

  service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

          53.     “Automatic telephone dialing system” refers to any equipment that has the
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  “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc., No.

  07-61822, 2009 WL 2365637, at *4 (S.D. Fla. June 9, 2009) (citing FCC, In re: Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991: Request of ACA

  International for Clarification and Declaratory Ruling, 07–232, ¶ 12, n.23 (2007)).

         54.     Defendant – or third parties directed by Defendant– used equipment having the

  capacity to dial numbers without human intervention to make marketing telephone calls to the

  cellular telephones of Plaintiff and the other members of the Class defined above.

         55.     These calls were made without regard to whether Defendant had first obtained

  express written consent to make such calls. In fact, Defendant did not have prior express written

  consent to call the cell phones of Plaintiff and Class Members when the subject calls were made.

         56.     Defendant therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

  automatic telephone dialing system to make marketing telephone calls to the cell phones of

  Plaintiff and Class Members without their prior express written consent.

         57.     All possible Defendants are directly, jointly, or vicariously liable for each such

  violation of the TCPA.

         58.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

  Plaintiff and the other members of the putative Class were harmed and are each entitled to a

  minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

  injunction against future calls.

                                          COUNT II
                Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                            (On Behalf of Plaintiff and the Class)

         59.     Plaintiff re-alleges and incorporates paragraphs 1-50 as if fully set forth herein.

         60.     At all times relevant, Defendant knew or should have known that their conduct as

  alleged herein violated the TCPA.
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         61.       Defendant knew that they did not have prior express written consent to send these

  text messages.

         62.       Because Defendant knew or should have known that Plaintiff and Class Members

  had not given prior express consent to receive its autodialed calls to their cellular telephones, the

  Court should treble the amount of statutory damages available to Plaintiff and the other members

  of the putative Class pursuant to § 227(b)(3) of the TCPA.

         63.       All possible Defendants are directly, jointly, or vicariously liable for each such

  violation of the TCPA.

         64.       As a result of Defendant violations, Plaintiff and the Class Members are entitled to

  an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

  § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

         WHEREFORE, Plaintiff, RYAN TURIZO, on behalf of himself and the other members

  of the Class, prays for the following relief:

         a.        A declaration that Defendant practices described herein violate the Telephone

  Consumer Protection Act, 47 U.S.C. § 227;

         b.        A declaration that Defendant violations of the Telephone Consumer Protection Act,

  47 U.S.C. § 227, were willful and knowing;

         c.        An injunction prohibiting Defendant from using an automatic telephone dialing

  system to call and text message telephone numbers assigned to cellular telephones without the

  prior express consent of the called party;

         d.        An award of actual, statutory damages, and/or trebled statutory damages; and

         e.        Such further and other relief the Court deems reasonable and just.

                                           JURY DEMAND

           Plaintiff and Class Members hereby demand a trial by jury.
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  Date: April 19, 2019

  Respectfully submitted,

                                   By: /s/ Jibrael S. Hindi
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